Case 4:11-cr-00151-A Document 24 Filed 11/28/11 Page 1of 2 Paget avo

FILED
A TRIGT COURT
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GV IN THE UNITED STATES DISTRICT COUR Wi8TH DIVISION
Qe FOR THE NORTHERN DISTRICT OF TEXAS yy 0g py 3¢ 38
FORT WORTH DIVISION IN

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UNITED STATES OF AMERICA § . ci
v. § No. 4:11-CR-151-A

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CRYSTAL LA VON MASON-HOBBS (1)

GOVERNMENT’S NOTICE REGARDING
ACCEPTANCE OF RESPONSIBILITY

The United States of America files this Government's Motion Regarding
Acceptance of Responsibility, pursuant to USSG § 3E1.1(b), and would show as follows:

If the Court determines that Crystal La Von Mason-Hobbs is entitled to a reduction
for Acceptance of Responsibility, and that her offense level is 16 or greater, the
Government moves that the Defendant receive an additional third point reduction for
Acceptance of Responsibility, pursuant to USSG § 3E1.1(b), because the Defendant has
assisted authorities in the investigation or prosecution of her own misconduct by timely
notifying authorities of her intention to enter a plea of guilty, thereby permitting the
government to avoid preparing for trial and permitting the government and the court to

allocate their resources efficiently.

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Respectfully submitted,

SARAH R. SALDANA
UNITED STATES ATTORNEY

 
   
 

  
   

 
  
 

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“MATTHEW J. GULDE
“ Assistant United States Attorney
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CERTIFICATE OF SERVICE

Thereby certify that on November 28, 2011, the foregoing Government’s Notice
Regarding Acceptance of Responsibility was served by hand-delivery to the, U.S.
Courthouse, 501 W. 10" Street, Fort Worth, Texas 76102, U.S. Probation Officer and
Warren St. John at 801 Cherry Street, Unit 5, Fort Worth, Texas 76102.

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~ Assistant United States Attorney

 

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